Case 4:20-cv-01115 Document 49al tiled on 02/05/21 in TXSD Page his / 1/202 ]
Hello Judge Ellison ott a
How are You sir PPwve We Your Gl asptiuder
UW IY-CV~o]b4¥ awd 4;d0-CV-OINS hop e beeause We May
be in Some big trouble awd t+ May Rsteen Odboper choetbaee So ran ef
hing Wolke me uo out of ahard s| cep to wight and
at tivst itdida't mak Kony SENSe, but DZ coulda
ge back Tosleep, so Lstertted thik Ng about what
Wooke Me tp. + was the Nig erians Working ON Wallace
Pack Unitawnd how the WJ ere gett iw iW and out or
~TeXasy CFly wg) aNd the ON & | et ofthe Covid “1G Virus,
NO Vaccine can stop CATrica). Thisamedical unit,
Your hon a how Fast doyou thins th e New Covid “| G
Virus would move aCross This unit, tu lol srcle aud old
prison ers iT one Nigerian Comes IN with the Virus and
ey lind itto late P This New Virus don tcare about
mask’ orb) feet, it feeds on weak hody systems and
this uvitis full of them, So T0.6.c; is still playing their
Wwe Weed aclass game to make ynowey | otlold mew Who
are only Going home to sit iy their houses or rest-homes
to die awd tthe New Virus nt before Someone “om
: bod Sens e&' rts OV Er de cause The are DING oO
io : ane aud watch US die, SO Yo © ‘he EARS
Wallace Pacts Unit are Nig erraNs , Luho are NOotTUN,
syates ciyzews awd only have agreen Card and We kk Wow
they are Flying back howe awd thew back te the uvited
states tell T0,C,5, to tellme Lom ly INg . More stat f
Got the VITUS ON this UNIT then inmate and You KK Now
thet Your honor L have b eeN sitting ow this huvk SOB Lona,
aE have hecome ap ait of iFawd staff ask me cdo J ever:
ase 4:20-cv-04115 Pocumént 483 "Eile on 02/05/21 in TXSD_ Page , iol /202]
Move, & Cours have Seton + e ca peal TBC,
on the outcome of the covid-is trial “that DCT,
lost. We would Vike “bo ask the G)yudges who voi || tMwake
their ruling will You make +he Same mistake 0,00;
Made and we Count body's unt | you Come Up Woith a
plan because the New African Coviel-! G Viyus is iN the
United states and No Vaccine is stoping i+ did wer
Say slowing it down, T said stoping ity, We may as
Well Kiss parole goodhy Ie, good -h and good SenSe
because aclase will be the death SMaloto elderly, dischle
and mentally fl prisowers , only 8 Texas, the last stave
to Wee its slaves and asystem that believe it is above
the law and rank ean stand hetore ated eval judge and
lic and laugh about +. Lam tig hitting with you, your honor
hecause Lheliee in) Fastice Seal but this will Wen esr
be Justice, unt | You truly stund O N the cowstrtution
and use the power, We the people gave You, under it,
believe im thats aYiNG ) give me liberty orgve Ne decthy
Noth jig more, Nothing less, Lhave heen oy the front line
from (Q.0lb) up To Now , have ran on You Have 1 loo ced
back awd Said, Lmede amistake My history will Tell Yo u
“Lean do My time, © wasnt Sentawoe bo death pth us what

Lam Try IN to out run, this Cage iS Not Gg iViug Me ataie
ight for my Ife. OWce a ain, think you for agood Ra ht,
but its hard Brdemonisto See Men, whew they heav The
Sound ot Nowe / Justice ;L wish T kwew where rt Went
and how | oug iT will be gone. alt you haye iN arest-home
judge Ellison, is children , why do you think they Say, owee
CA Man Two times achild So whet do You thik You hove
Case 4:20-cv-01115 Document 48d Fied on 02/05/21 in TXSD pages 43/ /Aod|
OW This unit? "children sin the mind, being abused like
hell and you Wonder why Tiled thelRico Ket) onthe
director Bryaw Collier Keeauue e he Stop eel Caving
about human beings jalong Time ago, No one Wants Me
to get IN) courtond Tell what my ey eS have Saw becaure
Vou wr vot sleep avy wore , Dontteel bad Our howor,
it took us trom 978) tol/ 96) to ctiudge tustice Te
See the demons and he went offand We Watched him
Go offand al| that TDC, could Say back thew Was, We
will do hetter and the.) ud Se Kept asking them, dil you alo
This Sco every da You a ieve You have stop ed them
awd justice iS Worle ING You learn the have founel Aa
Ground You —T was asked V the NewW Wardens To wot Tle
aNy More paperto the courts awd letthem Pix this unit
and X wanted to laugh hecause rank is under minding
every thing the wardened D) whetwes left hy Warden
Herrera, had astatfh memh er te] me. iN Tro wt ora Lt, She
Clon't give -a-dam about director Bryan Colliers polity ond
they laughed about rband © learned they are kin, Law
Luowd ering how Many Men who didwt have adeath sentence,
iS about to pa With their liPe hecause VDC, stl cb ont
have aplan. e Pigs are still tru i'Ng elter then ug youtr

honor, they have ta cond tron anda good Pood and only

cha d Pull oT people come arou d the Food js tre it dl
better thew the people who are going to cat mt, Bouglas ~

— i Collins
/ 10, David T Bvadle (clevk) QI FINE
Por. Judge keith P Alison G-C~33

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QUOO Wallace

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Na » } 2 2568

   

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Southern District of Texas
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